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 2                                                                           Hon. Robert S. Lasnik

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 7
                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,        )
 9                                     )               NO. CR06-041RSL
10                    Plaintiff,       )
                                       )
11              v.                     )               ORDER DENYING MOTION TO
12
                                       )               MODIFY SPECIAL CONDITIONS
     RICHARD ALLEN FABEL,             )                OF SUPERVISION RE: RON
13                                     )               ARNONE
                      Defendant.       )
14   _________________________________)
15
             THIS MATTER comes before the Court on defendant’s motion to modify special
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     conditions of supervision regarding Ron Arnone (Dkt. # 1004). Upon reviewing the submissions

18   of the parties, the Court hereby DENIES defendant’s motion. The Court is willing, upon
19   defendant’s re-noted motion, to revisit the issue after defendant has complied with all conditions
20
     of his supervised release for a period of one year.
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             DATED this 10th day of May, 2010.

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                                                A
                                                Robert S. Lasnik
                                                United States District Judge
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28   ORDER
